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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE

                                   Court No. 21-00073


                          ELLWOOD CITY FORGE CO., et al.

                                          Plaintiffs,

                                           v.

                                  THE UNITED STATES,

                                          Defendant,

                                          and

                                  METALCAM, S.P.A.,

                                          Defendant-Intervenor.



                    DEFENDANT’S RESPONSE TO PLAINTIFFS’
                       MOTION FOR RECONSIDERATION


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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
____________________________________
                                    )
ELLWOOD CITY FORGE CO., et al.,     )
                                    )
            Plaintiffs,             )
                                    )
            v.                      )
                                    )
UNITED STATES,                      )
                                    ) Court No. 21-00073
            Defendant,              )
                                    )
            and                     )
                                    )
METALCAM, S.P.A.,                   )
                                    )
            Defendant-Intervenor.   )
____________________________________)

 DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION FOR RECONSIDERATION

       Pursuant to the Court’s July 15, 2022 Order, ECF No. 47, defendant, the United States,

respectfully submits this response to the motion filed by plaintiffs, Ellwood City Forge

Company, Ellwood National Steel Company, Ellwood Quality Steels Company, and A. Finkl &

Sons (collectively, plaintiffs or Ellwood), seeking reconsideration of the Court’s opinion and

judgment sustaining the U.S. Department of Commerce’s (Commerce) final determination in the

antidumping duty investigation of forged steel fluid end blocks from Italy. Pls.’ Mot. for Recon.,

July 14, 2022, ECF No. 46. As set forth below, because plaintiffs fail to demonstrate that the

Court’s judgment was based on a manifest error of law or fact, the Court should deny plaintiffs’

motion.




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                     FACTUAL AND PROCEDURAL BACKGROUND

I.     Administrative Proceeding

       The administrative determination under review is the final determination in the

antidumping duty investigation of fluid end blocks from Italy. See Forged Steel Fluid End

Blocks From Italy, 85 Fed. Reg. 79,996 (Dep’t of Commerce Dec. 11, 2020) (Final

Determination), (Appx083315-083318) and accompanying Issues and Decision Memorandum

(IDM), (Appx083282-083314). The period of investigation is October 1, 2018 through

September 30, 2019. Final Determination, Appx083315.

II.    Proceedings Before This Court

       Plaintiffs challenged Commerce’s final determination in which they argued, among other

things, that Commerce’s verification questionnaires did not satisfy the requirement that

Commerce verify all information relied upon in making a final determination pursuant to 19

U.S.C. § 1677m(i). Pls.’ Rule 56.2 Mot. for J. on the Agency Record, July 9, 2021, ECF No. 21.

Because Ellwood did not raise any of its grievances regarding Commerce’s verification

procedures in administrative case and rebuttal briefs – or at any other point during the

administrative proceeding – Commerce did not directly address the issue of the selected

verification procedures in the final determination.

       On June 14, 2022, the Court sustained Commerce’s determination. Slip Op. 22-66, ECF

No. 44. Relevant here, the Court held that plaintiffs had failed to exhaust their administrative

remedies. Id. at 15, 36. The Court explained that plaintiffs instead, “complimented the agency

for its verification procedures – until those procedures resulted in a final determination not to

Ellwood City’s liking.” Id at 15. Moreover, the Court held that “{b}ecause Ellwood City chose

not to assert the alleged illegality of Commerce’s verification questionnaire, the administrative




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record is devoid of Commerce’s explanation of both the law and the facts supporting its chosen

methodology.” Id. at 36.

       On July 14, 2022, plaintiffs filed a motion for reconsideration of the Court’s opinion and

associated judgment. ECF No. 46. On July 15, 2022, the Court ordered expedited briefing

regarding plaintiffs’ motion for reconsideration. ECF No. 47.

                                              ARGUMENT

I.     Standard Of Review

       The grant or denial of a motion for rehearing and modification pursuant to Rule 59 lies

within the sound discretion of the Court. USEC, Inc. v. United States, 138 F. Supp. 2d 1335,

1336 (Ct. Int’l Trade 2001) (internal citations omitted). Moreover, the Court’s previous decision

will not be disturbed unless it is “manifestly erroneous.” Id. at 1337 (internal citations omitted).

“A motion for reconsideration will be granted ‘only in limited circumstances,’ such as for ‘1) an

error or irregularity, 2) a serious evidentiary flaw, 3) the discovery of new evidence which even a

diligent party could not have discovered in time, or 4) an accident, unpredictable surprise or

unavoidable mistake which impaired a party’s ability to adequately present its case.” Home

Meridian Int’l, Inc. v. United States, 925 F. Supp. 2d. 1377, 1380 (Ct. Int’l Trade 2013) (quoting

Target Stores v. United States, 471 F. Supp. 2d 1344, 1347 (Ct. Int’l Trade 2007)); see also

Papierfabrik August Koehler SE v. United States, 931 F. Supp. 2d 1319, 1321 (Ct. Int’l Trade

2013) (describing limited grounds for granting a motion for reconsideration) (quoting Home

Meridian, 925 F. Supp. 2d at 1380); USEC, Inc. 138 F. Supp. 2d at 1337 (same). However, “a

motion for reconsideration will not be granted merely to give a losing party another chance to re-

litigate the case or present arguments it previously raised.” America Nat. Fire Ins. Co. v. United




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States, 30 C.I.T. 1426, 1427 (2006); see also USEC, Inc., 138 F. Supp. 2d at 1336-37 (internal

citations omitted).

II.    Plaintiffs’ Attempt To Re-Litigate The Case Should Be Denied

       Plaintiffs’ motion for reconsideration is premised on their erroneous, and previously

rejected, claim that the Court should not have required exhaustion of administrative remedies

because doing so would have been futile. Pls.’ Mot. for Recon. at 2. It appears that plaintiffs’

motion attempts to argue for an “error or irregularity” in the Court’s opinion. Id.; see Home

Meridian Int’l, Inc., 925 F. Supp. 2d at 1380. For support, plaintiffs impermissibly rely on an

unadjudicated and nonprecedential remand redetermination that Commerce filed in this Court in

an unrelated case involving a wholly separate proceeding concerning a different country and a

different company, but a segment of which happened to have taken place during an earlier point

of the COVID-19 pandemic. Pls.’ Mot. for Recon., Exhibit 1. Specifically, plaintiffs contend

that Commerce’s unadjudicated and nonprecedential remand redetermination filed in the

unrelated Bonney Forge action, in which Commerce stated, in response to the Court’s remand

order issued in that unrelated case, that 63 days would have been insufficient to permit

Commerce to undertake videoconferencing verification means that the 48 days between the case

brief due date and final results in this case, somehow would have made it futile for Ellwood to

timely raise its verification arguments here. Id. at 3. But, as the Court explained, plaintiffs’

arguments against Commerce’s verification procedures in this case “confirm the factual rather

than purely legal nature of the inquiry.” Slip Op. 22-66 at 34 (further explaining that these types

of allegations “require a factual record of Commerce’s past practice and an assessment of

Commerce’s justification for any departure from that past practice” (citing Consol. Bearings Co.

v. United States, 348 F.3d 997, 1003 (Fed. Cir. 2003)). As such, the fact-specific determination




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made by Commerce in a separate proceeding—much less an unadjudicated and nonprecedential

remand redetermination such as that filed in response to the Court’s remand order issued in

Bonney Forge which plaintiffs cite here—does not represent a practice or a methodology that

applies equally across all of Commerce’s proceedings. See Jiaxing Bro. Fastener Co. v. United

States, 822 F.3d 1289, 1289-99 (Fed. Cir. 2016) (Commerce only examines the record before it,

and each record stands on its own); see also Yama Ribbons & Bows Co. v. United States, 865 F.

Supp. 2d 1294, 1298 (Ct. Int’l Trade 2012) (“Commerce must base its decisions on the record

before it in each individual investigation.”). Moreover, even putting aside plaintiffs’

inappropriate reliance on a unadjudicated and nonprecedential remand redetermination, because

conditions differ between countries and companies, Commerce’s verification processes and

decisions have always been made and are still being made on a fact-specific, case-by-case basis.

       Even assuming, for argument’s sake, that Commerce’s remand redetermination filed in

Bonney Forge were an adjudicated decision that Commerce had intended to have precedential

value, and that it would not have been inappropriate for plaintiffs to attach the Bonney Forge

remand redetermination to its motion filed in this case, that redetermination would merely have

provided an example of what is missing on the record of this proceeding 1 for explaining why the




       1  Plaintiffs also assert, by cherry-picking words out of context, that the “Court
overlooked, however, that Commerce did make a final determination on the issue – that ‘on-site
verifications {are} required under section 782(i) of the Act.’” Pls.’ Mot. for Recon. at 2.
However, a full reading of the sentence in the “Background” section of the IDM cited by the
plaintiffs reveals that Commerce was simply stating for the record the events that transpired
during the investigation: “On September 2, 2020, Commerce issued questionnaires requesting
additional information from Metalcam and Lucchini in lieu of performing on-site verifications
required under section 782(i) of the Act.” IDM at 2, Appx083283. Thus, Commerce was noting
the fact that on September 2, 2020, Commerce issued verification questionnaires requesting
additional information from Metalcam and Lucchini, pursuant to 19 U.S.C. § 1677m(i), in lieu of
performing on-site verification, and not, as plaintiffs posit, stating Commerce’s position that on-
site verification was required.


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administrative briefing period in that case did not afford Commerce enough time to revise

verification procedures into a “virtual verification.” 2

        In contrast, this litigation concerns different companies (Metalcam and Lucchini, not

Shakti); a different country (Italy, not India); and this investigation took place at a later point in

time during the COVID-19 pandemic, which may have allowed Commerce to consider

additional alternatives not available or yet adapted to during the underlying Bonney Forge

proceeding. Pls.’ Mot. for Recon., Exhibit 1 at 6, 23 (noting that Commerce issued verification

questionnaires to Shakti between June and July 2020 and that the underlying Bonney Forge

investigation represented the “earliest instance” of Commerce’s verification questionnaires)

compare to Commerce Letter to Lucchini (dated Sept. 2, 2020), Appx082922-082926 and

Commerce Letter to Metalcam (dated Sept. 2, 2020), Appx082927-082931 (collectively,

Verification Questionnaires).

        Moreover, “this is to say nothing of what procedural modifications Commerce could have

made had Plaintiffs not remained silent but instead stated their objections early and often.” Slip

Op. 22-66 at 30 (citing Itochu Bldg. Prod. v. United States, 733 F.3d 1140, 1146 (Fed. Cir.

2013)). As this Court recognized, the case briefing stage was not the only time Ellwood could

have registered objections to the verification questionnaire process. Indeed, it could have raised

its concerns any time after Commerce indicated it would be conducting verification by

questionnaire rather than on-site. See Commerce Letter to Lucchini (dated Sept. 2, 2020),




        2This explanation is missing because plaintiffs failed, at any point during the
administrative proceeding, to raise their arguments regarding on-site verification, thereby
depriving Commerce of the opportunity to respond on the record. See Slip Op. 22-66 at 36
(“Because Ellwood City chose not to assert the alleged illegality of Commerce’s verification
questionnaire, the administrative record is devoid of Commerce’s explanation of both the law
and the facts supporting its chosen methodology.”).


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Appx082922-082926 and Commerce Letter to Metalcam (dated Sept. 2, 2020), Appx082927-

082931. But Ellwood not only failed to raise its newly alleged grievances in its case briefs, it

failed to raise them at all. 3 See Slip. Op. 22-66 at 30 (“Commerce could reasonably have

concluded that it resolved Ellwood City’s concerns by its use of questionnaires to test

information, and Ellwood City never said otherwise despite having ample opportunity to do

so.”).

         Still, even assuming, for argument’s sake, that the unadjudicated and nonprecedential

remand redetermination that Commerce filed in Bonney Forge could indicate Commerce’s

inability to address any potential arguments they may have raised administratively, the Court

already addressed—in this case—the same argument plaintiffs attempt to re-litigate in their

motion – that “at the briefing and hearing stage, reverification was a temporal impossibility.”

Slip Op. 22-66 at 29; see also Pls.’ Reply Br. at 9, Nov. 5, 2021, ECF No. 26. The Court

correctly held that “{e}ven if Commerce could not have further tolled the deadline for the final

determination or established new verification procedures in the remaining time, ‘it would still

have been preferable, for purposes of administrative regularity and judicial efficiency,’ for

Ellwood City ‘to make its arguments in its case brief and for Commerce to give its full and final

administrative response in the final results.” Id. at 30 (citing Corus Staal BV v. United States,

502 F.3d 1370, 1380 (Fed. Cir. 2007)). The Court of Appeals for the Federal Circuit in a recent,

nonprecedential opinion affirmed this principle in the context of a remand segment holding that

even when it is likely that Commerce would have rejected an argument, “it would still have been



         3 Plaintiffs again argue that a statement in the post-preliminary comments counts as
raising the issue of on-site verification. Pls.’ Mot. for Recon. at 4. This Court has already found
that that statement did not put Commerce on notice of plaintiffs’ newfound complaints about the
verification questionnaire process and that, “{f}ar from objecting to Commerce’s actions,
Plaintiffs endorsed them.” Slip Op. 22-66 at 28 (internal citations omitted).


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preferable, for purposes of administrative regularity and judicial efficiency,” for plaintiff to

submit comments and “for Commerce to give its full and final administrative response in the

final results.” Prime Time Commerce, LLC, v. United States, No. 2021-1783, 2022 WL

2313968, at *9 (Fed. Cir. June 28, 2022) (nonprecedential) (citing Corus Staal, 502 F.3d at

1380).

         A motion for reconsideration is a request for “extraordinary” relief and it is not an avenue

for a dissatisfied party to simply re-litigate the case. Caldwell v. United States, 391 F.3d 1226,

1235 (Fed. Cir. 2004). Plaintiffs’ motion for reconsideration fails to meet the high standard for

this extraordinary relief and their motion should be denied.

                                              CONCLUSION

         For these reasons, we respectfully request that the Court deny plaintiffs’ motion for

reconsideration.




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                                        Respectfully submitted,

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                                        /s/ Sarah E. Kramer
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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE STEPHEN ALEXANDER VADEN, JUDGE
____________________________________
                                    )
ELLWOOD CITY FORGE CO., et al.,     )
                                    )
            Plaintiffs,             )
                                    )
            v.                      )
                                    )
UNITED STATES,                      )
                                    ) Court No. 21-00073
            Defendant,              )
                                    )
            and                     )
                                    )
METALCAM, S.P.A.,                   )
                                    )
            Defendant-Intervenor.   )
____________________________________)

                                            ORDER

       Upon consideration of plaintiffs’ motion for reconsideration of the court’s opinion and

judgment, defendant’s and defendant-intervenor’s responses thereto, plaintiffs’ reply, and all

other pertinent papers, it is hereby

       ORDERED that plaintiffs’ motion is DENIED.



Dated: ___________________                                          ____________________

               New York, New York                                                  Judge




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